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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Hadi Abuatelah
                              Plaintiff,
v.                                                   Case No.: 1:22−cv−03998
                                                     Honorable Steven C. Seeger
Officer One, et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 31, 2022:


        MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed the
joint initial status report. (Dckt. No. [26]) The Court adopts the proposed schedule. Fact
discovery will close on May 7, 2023. Scheduling Order to follow. Defendants intend to
file a motion to stay. The adoption of the schedule is without prejudice to any forthcoming
motion. Plaintiff has not made a settlement demand. Plaintiff must make a settlement
demand in writing and in good faith by November 15, 2022. Defendants must respond in
writing and in good faith by December 7, 2022. By December 15, 2022, the parties must
meet and confer and must file a joint statement addressing whether they seek a settlement
conference. Mailed notice(jjr, )




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